Case 4:14-cv-00704-GKF-JFJ Document 297-7 Filed in USDC ND/OK on 10/12/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA, and      )
    THE OSAGE MINERALS COUNCIL,        )
                                       )
               Plaintiffs,             )
                                       )
    vs.                                )     Case No. 14-CV-704-GKF-JFJ
                                       )
    OSAGE WIND, LLC;                   )
    ENEL KANSAS, LLC; and              )
    ENEL GREEN POWER NORTH             )
    AMERICA, INC.,                     )
                                       )
               Defendants.             )

                  DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
                   JUDGMENT AND OPENING BRIEF IN SUPPORT




                             EXHIBIT 7
Case 4:14-cv-00704-GKF-JFJ Document 297-7 Filed in USDC ND/OK on 10/12/21 Page 2 of 3
Case 4:14-cv-00704-GKF-JFJ Document 297-7 Filed in USDC ND/OK on 10/12/21 Page 3 of 3
